
3 N.Y.2d 879 (1957)
In the Matter of John W. Harris et al., Infants, by Irving D. Harris, Their Guardian ad Litem, et al., Appellants, to Compel an Accounting by Guaranty Trust Company of New York, as Substituted Trustee of the Trust Created between Jean Ferris, as Settlor, and Guaranty Executor and Trustee Company, Limited, as Trustee, Respondent.
In the Matter of the Accounting of Guaranty Trust Company of New York, as Substituted Trustee of the Trust Created between Jean Ferris, as Settlor, and Guaranty Executor and Trustee Company, Limited, as Trustee, Respondent. Charles L. d'Espinay-Durtal et al., Appellants-Respondents; Anthony J. Romagna, as Guardian ad Litem of Chantal L. M. F. d'Espinay, an Infant, et al., Respondents-Appellants; Thomas B. Gilchrist, as Ancillary Executor of Jean F. d'Espinay, Deceased, Respondent.
Court of Appeals of the State of New York.
Submitted July 2, 1957.
Decided July 3, 1957.
Motion for reargument denied, with $10 costs. Motion to amend remittitur granted. Return of remittitur requested and, when returned, it will be amended by adding thereto the following: Upon the appeals herein there was presented and necessarily passed upon a question under the Constitution of the United States, viz.: Whether the retroactive commutation of appellant Charles L. d'Espinay-Durtal's annuity as of the date of his wife's death violated his rights under the Fourteenth Amendment. The Court of Appeals held that there was no denial of any constitutional right of said appellant. [See 3 N Y 2d 70.]
